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                           UNITED STATES DISTRICT COURT FOR THE
                                EASTERN DISTRICT OF TEXAS

                                                                                                                          4
   CRAIG CUNNINGHAM,                                              §                                                rfi.

   Plaintiff,                                                     §
                                                                  §                                        SEP 2 5 20
   v.                                                             §                                   CLik. U.S. Disin'cf C
                                                                  § Civil Case No.
                                                                                                            Texas Haslyrr
   The Oliver Law Group, PA, Complete Legal                       §
   Plan, LLC, Consumer Capital Advocates,                         §
   LLC, Global Client Solutions, LLC, Credit                      §
   analyzer.net, LLC, Tony Pardo, Bert Oliver,                    §
   Jenssen Varela,

   Defe dant




                                         Plaintiffs Original Complaint


                                                           Parties

   1. The Plaintiff is Craig Cunningham and natural person and was present in Texas for all

        calls in this case in Collin County.

   2. The Oliver Law Group, A. is a Florida entity that can be served via registered agent

        Bert Oliver, 1166 W. Newport Center Drive, suite 312 Deerfield beach, FL 33442.

   3. Bert Oliver is a natural person and corporate officer of Oliver Law group and can be

        served at 1166 W. Newport Center Drive, Suite 312 Deerfield Beach, FL 33442.

   4. Consumer Capital Advocates, LLC is a Florida corporation that can be served via

        registerd agent at Jenssen Varela, 2011 N. Ocean Blvd Apt 702, Fort Lauderdale, FL

        33305 or 2900 NE 30th Street, Fort Lauderdale, FL 33306 or 3221 NW 10th Terrace #

        502, Oakland Park, FL 33309.

   5. Jenssen Verela is a managin member of Consumer Capital Advocates, LLC and can




   https://\vAY\v.consumer.nc.gov/blog/20l5/08/\vhats-dcal-rachel-card-services-your-top-3-questions-ans\vered
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       be served at 2011 N. Ocean Blvd Apt 702, Fort Lauderdale, FL 33305 or 2900 NE

        30th Street, Fort Lauderdale, FL 33306 or 3221 NW 10th Terrace # 502, Oakland Park,

       FL 33309.

   6. Creditanalyzer.net, LLC is a Florida corporation that can be served via Reg Agent

        Tony Pardo 2841 N. Ocean Blvd Apt 1102, Fort Lauderdale, FL 33308.

   7. Tony Pardo is a natural person who can be served at 2841 N. Ocean Blvd., Apt 1102,

       Fort Lauderdale, FL 33308.

   8. Complete Legal Plan, LLC is a Florida corporation that can be served via reg agent

        Tony Pardo, 3320 NW 97 Way, Sunrise FL 33351 or 2841 N. Ocean Blvd., Apt 1102,

       Fort Lauderdale, FL 33308.

   9. Global Client solutions, LLC is an Oklahoma corporation that can be served via

       registered agent Brent Hampton, 4500 S 129th E st Ave Ste 175, Tulsa, OK 74134




                                       JURISDICTION AND VENUE

   10. Jurisdiction. This Court has federal-question subject matter jurisdiction over

       Plaintiffs TCPA claims pursuant to 28 U.S.C. § 1331 because the TCPA is a federal

        statute. Mims v. Arrow Fin. Servs., LLC, 56 U.S. 368, 372 (2012). This Court has

        supplemental subject matter jurisdiction over Plaintiffs claim arising under Texas

       Business and Commerce Code 305.053 because that claim: arises from the same

       nucleus of operative fact, i.e.. Defendants telemarketing robocalls to Plaintiff; adds

       little complexity to the case; and doesn t seek money damages, so it is unlikely to

       predominate over the TCPA claims.

   11. Person ! Jurisdiction. This Court has general personal jurisdiction over the




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        defendant because they have repeatedly and knowingly placed calls to Texas

        residents, and derive revenue from Texas residents, and the sell goods and services to

        Texas residents, including the Plaintiff.

    12. This Court has specific personal jurisdiction over the defendants because the calls at

        issue were sent by or on behalf of each of the defendants and for the benefit of each

        and every defendant to Texas Resi ents, specifically the Plaintiff in this case.

    13. Venue. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(l)-(2)

        because a substantial part of the events giving rise to the claims the calls and sale of

        goods and services directed at Texas residents, including the Plaintiff occurred in

        this District and because the Plaintiff resides in this District. The Plaintiff was

        residing in the Eastern District of Texas when he recieved a substantial if not every

        single call from the Defendants that are the subject matter of this lawsuit.

        THE T L PHONE CONSUMER PROTECTION ACT OF 1991, 47 .S.C. §

        227

   14. In 1991, Congress enacted the TCPA in response to a growing number of consumer

        complaints regarding telemarketing.

   15. The TCPA makes it unlawful to make any call (other than a call made for emergency

       purposes or made with the prior express consent of the called party) using an

        automatic telephone dialing system or an artificial or prerecorded voice ... to any

       telephone number assigned to a ... cellular telephone service. 47 U.S.C. §

       227(b)(l)(A)(iii).
   16. The TCPA makes it unlawful “to initiate any telephone call to any residential

       telephone line using an artificial or prerecorded voice to deliver a message without




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       the prior express consent of the called party, unless the call is initiated for emergency

       purposes, is made solely pursuant to t e collection of a debt owed to or guaranteed by

       the United States, or is exempted by rule or order of the Federal Communication

       Commission ( FCC”). 47 U.S.C. § 227(b)(1)(B).

   17. The TCPA provides a private cause of action to persons who receive calls in violation

       of § 227(b). 47 U.S.C. § 227(b)(3).

    18. Separately, the TCPA bans making telemarketing calls without a do-not-call policy

       available upon demand. 47 U.S.C. § 227(c); 47 C.F.R. § 64.1200(d)(1).1

   19. The TCPA provides a private cause of action to persons who receive calls in

       violation of § 227(c) or a regulation promulgated thereunder. 47 U.S.C. § 227(c)(5).

   20. According to findings of the FCC, the agency vested by Congress with authority to

       issue regulations implementing the TCPA, automated or prerecorded telephone calls

       are a greater nuisance and invasion of privacy than live solicitation calls and can be

       costly and inconvenient.

   21. The FCC also recognizes that wireless customers are charged for incoming calls

       whether they pay in advance or after the minutes are used.” In re R les and

       Regulations Implementing the Tel. Consumer Prot. Act of 1991, 18 FCC Red. 14014,

        14115 165 (2003).

   22. The FCC requires prior express written consent” for all autodialed or prerecorded

       telemarketing robocalls to wireless numbers and residential lines. In particular: [A]

       consumer s written consent to receive telemarketin robocalls must be signed and be

        sufficient to show that the consumer: (1) received clear and conspicuous disclosure *


     See Code of Federal Regulations, Title 47, Parts 40 to 60, at 425 (2017) (codifying a June 26, 2003 FCC
   order).


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       of the consequences of providing the requested consent, i.e., that t e consumer will

       receive future calls that deliver prerecorded messages by or on behalf of a specific

       seller; and (2) having received this information, agrees unambiguously to receive

       such calls at a telephone nu ber the consumer designates. In addition, the written

       agreement must be obt ined without requiring, directly or indirectly, that the

       agreement be executed as a condition of purchasing any good or service.

   23. In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of

       199 f 27 FCC Red. 1830, 1844 33 (2012) (footnote and internal quotation marks

       omitted). FCC regul tions generally establish that the party on whose behalf a

       solicitation is made bears ultimate responsibility for any violations. In the Matter of

       Rules and Regulations Implementing the Tel. Consumer Prot. Act of 199 f 10 FCC

       Red. 12391, 12397 13 (1995).

   24. The FCC confirmed this principle in 2013, when it explained that a seller ... maybe

       held vicariously liable under federal common law principles of agency for violations

       of either section 227(b) or section 227(c) that are com itted by third-party

       telemarketers.” In the Matter of the Joint Petition Filed by Di h Network, LLC, 28

       FCC Red. 6574, 6574 % 1 (2013).

   25. Under the TCPA, a text message is a call. Satterfield v. Simon & Schuster, Inc., 569

       F.3d 946, 951 -52 (9th Cir. 2009).

   26. A corporate officer involved in the telemarketing at issue may be personally liable

       under the TCPA. E. , Jackson Five Star Catering, Inc. v. Season, Case No. 10-


        10010, 2013 U.S. Disk LEXIS 159985, at *10 (E.D. Mich. Nov. 8, 2013) ( [M]any

        courts have held that corporate actors can be individually liable for violating the




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       TCPA where they had direct, personal participation in or personally authorized the

       conduct found to have violated the statute. (internal uotation marks omitted));

       Maryland v. Universal Elections, 787 V. Supp. 2d 408, 415 - 16 (D. Md. 2011) ( If

       an individual acting on behalf of a corporation could avoid individual liability, the

       TCPA would lose much of its force.”).

                             The Texas Busine and Commerce Code 305.053

   27. The Texas Business and Commerce code has an analogus portion that is related to the

       TCPA and was violated in this case.

   28. The Plaintiff may seek damages under this Texas law for violations of 47 USC 227 or

       subchapter A and seek $500 in statutory damages or $1500 for willful or knowing

       damages.

                                            FACTUAL ALLEGATIONS

   29. The Plaintiff recieved at least 9 calls from a spoofed caller ID of 615-348-3208 to

       615-348-1977 on September 13 2018 initially and later from 888-407-1534. The

       number 615-348-3208 was spoofed and is not a working number. T e calls were

       initiated using an automated telephone dialing system and the first call on 9/13/2018

       contained a pre-recorded message. The pre-recorded message said after a 3 second

       pause of dead air This is the award system with Visa Mastercard account services

       with important changes to your account before the next billi g-" at which point, the

       Plaintiff pressed 1 to reach a live rep and recognized the call as being one of the

       common Rachel with card sendees type of calls pitching debt relief service.

   30. The Plaintiff knew this wasn t actually a represenative of Visa or Mastercard calling.

       Interestingly enough, the agent had some identifying personal information on the




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       Plaintiff referring to an old address, so they apparently bought i formation relating to

       the Plaintiff.

   31. The Plaintiff was then connected with a live person who introduced himself as

         Larry and claimed he was with “credit services and asked if the Plaintiff was

       holding for a 0% credit card offer. Larry then asked a few qualifying questions and

       then transferred the Plaintiff to Consumer Capital Advocates. Larry clai ed the

       Plaintiff would get a 0% credit card offer for 48 months.

   32. The Plaintiff was then connected to an individual named Michael Young with “card

       services” that the Plaintiff later determined to be wit Consumer Capital Advocates

       who claimed to work with a full service financial firm and The agent gave his

       callback number of 888-407-1534. Michael claimed his company could eliminate

       interest rates and get some of the Plaintiffs debt forgiven. Michael then claimed that

       he was part of a full service law firm and an attorney would be assigned to my case

       whose job is to contact my creditors and negotiate with them to eliminate my interest

       rates. Michal then referred to the Oliver Law group as the law firm they work with to

       settle the Plaintiffs debts.

   33. The Plaintiff was then was told about the debt relief program and how it involves a

       subscription to Complete Legal Plan, Credit Analyzer, an escrow account with Global

       Client Solutions and the services of Oliver Law Group, PA. The Defendants

       described their strategy of having the Plaintiff intentionlly default on his credit cards

       in or er to secure a settlement for less than the balance owed using the services of the

       Oliver Law group and the other entities.

   34. The Plaintiff was sent an combined service agreement bearing the Plaintiff s name




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       and securing the services of The Oliver Law Group, PA, Global Client Solutions,

       Consumer C pital Advoc tes, L C, Complete Legal Plan, and Credit Analyzer, LLC

       as a result of the telephone call (Ex A)

   35. On information and belief. Consumer Capital Advocates, LLC or entities placing calls

       on their behalf used equipment that has the capacity to store or produce random or

       sequential telephone numbers to be called and that includes autodialers and predictive

       dialers (each an automatic telephone dialing system or ATDS ) to place each and

       every call.

   36. Consumer Capital Advocates placed calls to the Plaintiff without maintainin an

       internal do-not-call list in violation of 47 USC 227(c)(5) as codified in 47 CF

       64.120(d).

   37. Consumer Capital Advocates, LLC was pitching “debt relief services to reduce the

       Plaintiffs credit card debt using the services of the Oliver Law Group, Global Client

       Solutions, LLC, Credit Analyzer.net, LLC and Complete Legal Plan, LLC as detailed

       in the written agreement sent to the Plaintiff from the Defendants.

   38. The Plaintiff was emailed an a contractual agreement to sign that described the

       services provided by each of the entities in paragraph 31. (See Ex A). The Plaintiff

       was then called multiple ti es a day by Michael with Consumer Capital Advocates

       in an effort to get the Plaintiff to sign off on the debt relief contract creating an

       obligation on the Plaintiffs part to pay money to The Oliver Law Group, Global

       Client Solutions, CreditAnalyzer.net, and Complete Legal Plan, LLC.

   39. The Plaintiff has previously sued Global Client Solutions for illegal telemarketing,

       and despite this, Defendant Global continues to contractually engage with entities




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      Global k ows ill make illegal telemarketing calls.

   40. The Plaintiff inquired with the agents of Consumer Capital Advocates, LLC if they

      had an Internal Do not call policy and if they could send the Plaintiff a copy.

   41. Consumer Capital Advocates, LLC never sent Mr. Cunningham any o-not-call

       policy.

   42. On information and belief, Consumer Capital Advocates, LLCdid not have a written

       do-not-call policy while it was sending Mr. Cunningha calls.

   43. O information and belief. Consumer Capital Advocates, LLC did not train its

       agents engaged in telemarketing on the existence and use of any do-not-call list.

   44. Consumer Capital Advocates, LLC calls did not provide Mr. Cunningham with the

       name of the individual caller or the name of the person or entity on whose behalf the

       call was being made.

   45. At no time during the call was the calling party s n me mentioned naming the party

       on whose behalf the calls were being placed.

   46. At no time were any of the calls related to any emergency purpose.

   47. At no time were any of the calls placed with the Plaintiffs prior express written

       consent.

   48. Defendants never had any reason to believe that Mr. Cunningham had consented to

       receive calls or texts from them.

   49. Mr. Cunningham has a limited data plan. Incoming calls chip away at his monthly

       allotment.

   50. Mr. Cunningham has limited data sto age capacity on his cellular telephone.

       Incoming calls from Consumer Capital Advocates on behalf of their co-defendants




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         cons med part of this capacity.

         Willful and Knowing Actions by Bert Oliver an The Oliver Law Group, PA


    51. Bert Oliver was aware in 2018 that the Defendants Consumer Capital Advocates were

         placing automamted calls with pre-recorded messages. Bert knew that the calls were

         being made without consent and that most consumers did not want to recieve these

         types of c lls. Bert knew that Consumer Capital Advocates were placing illegal

         telemarketing calls on behalf of Bert Oliver and his law firm to consumers. Despite

         knowledge of the illegal calls being placed for the benefit of himself and the Oliver

         Law Group, Bert executed a contract for telemarketing services provided by

         Consumer Capital Advocates. Bert continued to pay and agree to buy the leads

         generated by the illegal telemarketing services as contracted.. Bert had control over

         the Oliver Law Group and the agreement with Consumer Capital Advocates and

         knowledge of the illegal tele arketing actions of Consumer Capital Advocates to the

         extent that he could tenninate the contract with Consumer Capital Advocates to stop

         the ille al tele a rketi g but refused to do so.


    52. Bert continued to purchase leads and pay Consumer Capital Advocates through his

         corporation the Oliver Law Group for the illegally obtained telemarketing leads. Bert

         knew that Consumer Capital Advocates lacked an internal Do-not-call policy and was

         placing telemarketing calls on his company s behalf regardless. Bert knew that the

         Plaintiff would continue to recieve telemarketing calls by Consumer Capital

        Advocates selling the servies of The Oliver Law Group as a result of not having an

        internal do-not-call list.




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    53. The Oliver Law Group, PA is a single member entity owned and controlled primrily

        by Bert Oliver. Bert Oliver is the o lyexecutives and decision maker for the Oliver

        Law Group, PA and has the power and authority to fire employees and terminate

        contracts with other 3rd p rty vendors such as Consumer Capital Advociates. Despite

        knowledge of the illegal telemarketing conduct, Bert Oliver refused to terminate his

        contract with Consumer Capital Advocates corporation and instead Bert Oliver

        decided to continue to purchase telemarketing leads. Bert Oliver directed Consumer

        Ca ital Advocates to place automated calls with pre-recorded messages for his own

        profit and benefit. The Oliver Law group, PA and Bert Oliver are vicariously liable

        for all TCPA damages and Texas state law violations resulting from their contract and

        agreement with Consumer Capital Advocates, LLC.


         Consumer Capital Advocates nd Jenssen Varela s Willful and knowing action

    54. Jenssen Varela was aware in 2018 that the Defendants Consumer Capital Advocates

        were placing automamted calls with pre-recorded messages. Jenssen Varela knew

        that the calls were being made without consent and that most consumers did not want

        to recieve these types of calls. Jenssen Varela knew that Consumer Capital

        Advocates were placing illegal telemarketing calls on behalf of Jenssen Varela and

        his law firm to consumers. Despite knowledge of the illegal calls being placed for the

        benefit of himself and the Oliver Law Group, Jenssen Varela executed a contract for

        telemarketing services provided by Consumer Capital Advocates. Jenssen Varela

        continued to pay and agree to buy the leads generated by the illegal telemarketing

         services as contracted.. Jenssen Varela had control over the Oliver Law Group and

        the agreement with Consumer Capital Advocates and knowledge of the illegal



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        telemarketing actions of Consumer Capital Advocates to the extent that he could

        terminate the contract with Consumer Capital Advocates to stop the illegal telema

        rketing but refused to do so.


    55. Jenssen Varela continued to sell leads and direct Consumer Capital Advocates to

        make illegall telemarketing calls despite knowing the calls violated the TCPA and

        Texas Business and Commerce Code. Jenssen Varela knew that Consumer Capital

        Advocates lacked an internal Do-not-call policy and was placing telemarketing calls

        on his company s behalf regardless. Jenssen Varela knew that the Plaintiff would

        continue to recieve telemarketing calls by Consumer Capital Advocates selling the

         servies of The Oliver Law Group among the rest of the defendants as a result of not

        having an internal do-not-call list.


    56. Consumer Capital Advocates is a single member entity owned and controlled primrily

        by Jenssen Varela. Jenssen Varela is the only executive and decision maker for

        Consumer Capital Advocates and has the power and authority to fire employees and

        tenninate contracts with other 3rd party vendors placing telemarketing calls on its

        behalf. Despite knowledge of the illegal telemarketing conduct, Jenssen Varela

        refused to direct Consumer Capital Advocates to stop making illegal telemarketing

        calls and instead decided to continue to purchase telemarketing leads. Jenssen Varela

         directed Consumer Capital Advocates to place automated calls with pre-recorded

        messages for his own profit and benefit.


         Willful and Knowing Actions by Bert Oliver and The Oliver Law Group, PA




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    57. Bert Oliver was aware in 2018 that the Defendants Consumer Capital Advocates were

        placing automamted calls with pre-recorded messages. Bert knew that the calls were

        being made without consent and that most consumers did not want to recieve these

        types of calls. Bert knew that Consumer Capital Advocates were placing illegal

        telemarketing calls on behalf of Bert Oliver and his law firm to consumers. Despite

        knowledge of the illegal calls being placed for the benefit of himself and the Oliver

        Law Group, Bert executed a contract for telemarketing services provided by

        Consumer Capital Advocates. Bert continued to pay and agree to buy the lea s

        generated by the illegal telemarketing services as contracted.. Bert had control over

        the Oliver Law Group and the agreement with Consu er Capital Advocates and

        knowledge of the illegal telemarketing actions of Consumer Capital Advocates to the

        extent that he could terminate the contract with Consumer Capital Advocates to stop

        the illegal telema rketing but refused to do so.


    58. Bert continued to purchase leads and pay Consumer Capital Advocates through his

        corporation the Oliver Law Group for the illegally obtained telemarketing leads. Bert

        knew that Consumer Capital Advocates lacke an internal Do-not-call policy and was

        placing telemarketing calls on his company s behalf regardless. Bert knew that the

        Plaintiff would continue to recieve telemarketing calls by Consumer Capital

        Advocates selling the servies of The Oliver Law Group as a result of not having an

        internal do-not-call list.


    59. The Oliver Law Group, PA is a single member entity owned and controlled pri rily

        by Bert Oliver. Bert Oliver is the onlyexecutives and decision maker for the Oliver

        Law Group, PA and has the power and authority to fire employees and tenninate


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         contracts with other 3rd party vendors such as Co sumer Capital Advociates. Despite

         knowledge of the illegal telemarketing conduct, Bert Oliver refused to ten inate is

         contract with Consumer Capital Advocates corporation and instead Bert Oliver

         decided to continue to purchase telemarketing leads. Bert Oliver directed Consumer

         Capital Advocates to place automated calls with pre-recorded messages for his own

         profit and benefit. The Oliver Law group, PA and Bert Oliver are vicariously liable

         for all TCPA damages and Texas state law violations resulting from their contract a d

         agreement with Consumer Capital Advocates, LLC.


      Willful and Knowing Actions by Tony Pardo and Credit Analyzer.net, LLC and

                                              Complete Legal Plan, LLC


    60. Tony Pardo was aware in 2018 that the Defendants Consumer Capital Advocates

        were placing automamted calls with pre-recorded messages on behalf of him and his

         corporation Credit nalyzer.net LLC and Complete Legal Plan, LLC. Tony Pardo

        knew that the calls were being made without consent and that most consumers did not

         want to recieve these types of calls. . Despite knowledge of the ille al calls being

        placed for the benefit of himself and the Creditanalyzer.net LLC and Complete Legal

        Plan, LLC, Tony Pardo executed a contract for telemarketing services provided by

        Consumer Capital Advocates and Complete Legal Plan, LLC. Tony Pardo continued

        to pay and agree to buy the leads generated by the illegal telemarketing services as

        contracted.. Tony Pardo had control over the entity Creditanalyzer.net LLC and

        Complete Legal Plan, LLC and the agreement with Consumer Capital Advocates and

        knowledge of the illegal telemarketing actions of Consumer Capital Advocates to the




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         extent that he could terminate the contract with Consumer Capital Advocates to stop

         the illegal telema rketing but refused to do so.


    61. Tony Pardo continued to purchase leads and pay Consumer Capital Advocates

         through his corporation the Creditanalyzer.net LLC and Complete Legal Plan, LLC

         for the illegally obtained telemarketing leads. Tony Pardo knew that Consumer

         Capital Advocates lacked an internal Do-not-call policy and was placing

         telemarketing calls on his company s behalf regardless. Tony Pardo knew that the

         Plaintiff would continue to recieve telemarketing calls by Consumer Capital

         Advocates selling the servies of Creditanalyzer.net LLC and Com lete Legal Plan,

        LLC as a result of not having an internal do-not-call list.


    62. Creditanalyzer.net LLC and Complete Legal Plan, LLC are single member entity

         owned and controlled primrily by Tony Par o. Tony Pardo is the only executive and

         decision maker for the Creditanalyzer.net LLC and Complete Legal Plan, LLC and

         has the power and authority to fire employees and terminate contracts with other 3rd

        party vendors such as Consumer Capital Advociates. Despite knowledge of the illegal

        telemarketing conduct, Tony Pardo refused to terminate his contract with Consumer

        Capital Advocates corporation and instead Tony Pardo decided to continue to

        purchase telemarketing leads. Tony Pardo directed Consumer Capital Advocates to

        place automated calls with pre-recorded messages for his own profit and benefit.

        Creditanalyzer.net LLC and Complete Legal Plan, LLC and Tony Pardo are

        vicariously liable for all TCPA damages and Texas state law violations resulting from

        their contract and agreement with Consumer Capital Advocates, LLC.




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    63. According to the website www.completelegalplan.com, Complete Legal Plan, LLC

        explicitly states that the Plan a ministrator is The Oliver Law Group, PA and in the

        fine print states “In order to provide te simplest, most straightforward experience and

        deliver the hihest level of customer service to its members, Com lete Legal Plan,

        LLC is pleased to have contracted with The Oliver Law Group, P.A. to fulfill member

        services and administrative functions for CLP members.


                       Willful and Knowing Actions by Global Client Solutions


    64. Global Client solutions was previously sued by the Plaintiff for placing illegal

        telemarketing calls was aware in 2018 that the Defendants Consumer Capital

        Advocates were placing automamted calls with pre-recorded messages. Global Client

        knew that the calls were bei g made without consent and that most consumers did not

        want to recieve these types of calls. Global Client new that Consumer Capital

        Advocates were placing illegal telemarketing calls on behalf of Global Client and the

        related law firm to consumers. Despite knowledge of the illegal calls being placed for

        the benefit of Global Client, Global Client executed a contract for telemarketing

        services provided by Consumer Capital Advocates. Global Client continued to pay

        and agree to buy the leads generated by the illegal telemarketing services as

        contracted.. Global Client had control over the Oliver Law Group and the agreement

        with Consumer Capital Advocates and knowledge of the illegal telemarketing ctions

        of Consumer Capital Advocates to the extent that Global Client could terminate the

        contract with Consumer Capital Advocates to stop the illegal telema rketing but

        refused to do so.




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    65. Global Client continued to purchase leads and pay Consumer Capital Advocates

        through his corporation the Global Client for the illegally obtained telemarketing

        leads. Global Client knew that Consumer Capital Advocates lacked an internal Do-

        not-call policy and was lacing telemarketing calls on his company s behalf

        regardless. Global Client knew that the Plaintiff would continue to recieve

        telemarketing calls by Consumer Capital Advocates selling the servies of The Oliver

        Law Group as a result of not having an internal do-not-call list.


    66. Despite knowledge of the illegal telemarketing conduct, Global Client refused to

        terminate his contract with Consumer Capital Advocates corporation and instead

        Global Client decided to continue to purchase telemarketing leads. Global Client is

        vicariously liable for all TCPA damages and Texas state law violations resulting fro

        their contract and agreement with Consumer Capital Advocates, LLC.


                   Violations of The Texas Business and Commerce Code 305.053

    67. The Texas Business and Commerce code has an analogus portion that is related to the

        TCPA and was violated in this case.

    68. The Plaintiff may seek damages under this Texas law for violations of 47 USC 227 or

         subchapter A and seek $500 in statutory damages or $1500 for willful or knowing

        damages. The calls constituted at least 9 violations of the Texas Finance Code

        305.053 and the Plaintiff should be awarded treble damages for willful and knowing

        violations of $ 1500 per call.

    69. Each and every individual defendant violated 47 USC 227 by placing illegal

        telemarketing calls or accepting the benefits of the illegal telemarketing calls and is

        thus liable also under the Texas Business and Commerce Code 305.053.


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    70. Consumer Capital Advocates, LLC at the direction of Jenssen Varela placed calls,

        did not provide Mr. Cunningham with the name of the individual caller or the name

        of the person or entity on whose behalf the call was being made and thus violated 47

        USC 227(c)(5) and in turn violated the Texas business and commerce code.

    71. Consumer Capital Advocates violated 47 USC 227(b) by placing automated calls with

        a pre-recorded message to the Plaintiffs cell phone.

    72. Consumer Capital Advocates, LLC at the direction of Jenssen Varela placed calls,

        did not provide Mr. Cunningham ith the name of the individual caller or the name

        of the person or entity on whose behalf the call was being made and thus violated 47

        USC 227(c)(5) and in turn violated the Texas business and commerce code.

    73. Consumer Capital Advocates violated 47 USC 227(b) by placing automated calls with

        a pre-recorded message to the Plaintiffs cell phone.

    74. The Oliver Law Group, PA at the direction of Bert Oliver hired Consumer Capital

        Advocates and Jenssen Varela to place illegal telemarketing calls in violation of 47

        USC 227(b) and 47 USC 227(c)(5) and are jointly and severally liable for the calls in

        violation of Texas Business and Commerce Code.


    75. Global Client hired Consumer Capital Advocates and Jenssen Varela to place illegal

        telemarketin calls in violation of 47 USC 227(b) and 47 USC 227(c)(5) and are

        jointly and severally liable for the calls in violation of Texas Business and Commerce

        Code.


    76. CreditAnalyzer.com, LLC at the direction of Tony Pardo hired Consumer Capital

        Advocates and Jenssen Varela to place illegal telemarketing calls in violation of 47




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        USC 227(b) and 47 USC 227(c)(5) and are jointly and severally liable for the calls in

        violation of Texas Business and Commerce Code.


                                           VICARIOUS LIABILITY

    77. Defendants CreditAnalyzer.com, LLC, Consumer Capital Advocates,The Oliver Law

        Group, PA are also vicariously liable under the FCC s ruling accordi g to the

        traditional agency principles to include actual authority, apparent authority, and

        ratification.

    78. Defendants CreditAnalyzer.com, LLC, Consumer Capital Advocates,The Oliver Law

        Group, PA are liable under actual authority as they directly hired Defendant

        Consumer Capital Advocates to place illegal telephone calls and authorized the illegal

        telephone calls.

    79. Defendants CreditAnalyzer.com, LLC, Consumer Capital Advocates,The Oliver Law

        Group, PA contracted and with Defendant Consumer Capital Advocates for the

        purposes of placing automated calls with re-recorded messages to consumers.

    80. Defendants CreditAnalyzer.com, LLC, Consumer Capital Advocates,The Oliver Law

        Group, PA is liable under apparent authority as a reasonable perso would have

        understood that Defendant Consumer Capital Advocates as the other defe dant s

        agent had authority to act on their behalf by placing telephone calls to consumers

        including the Plaintiff.

    81. Defendants CreditAnalyzer.com, LLC, Consumer Capital Advocates,The Oliver Law

        Group, PA are liable under the theory of ratification as they knowingly acceptend the

        benefits and profits of the illegal conduct and approved of the illegal telephone calls

        to happen under the doctrines of apparent authority, actual authority, and ratification.



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    82. Defendants CreditAnalyzer.com, LLC, Consumer Capital Advocates,The Oliver Law

         Group, PA sent the Plaintiff paperwork for consolidating his debt which explained the

         entire process and costs involved and included the other named defendants as sellers

         of goods or services in the agreement.

    83. The calls in question violated 47 USC 227(b) entitling the Plaintiff to a recover of

         $1500 for making calls using an automated telephone dialing system and containing a

         pre-recorded message and 47 USC 227(c)(5) as codified by 47 CFR 64.1200 under

         the FCC s rulemaking authority entitling the Plaintif to an additional recovery of

         $1500 for violating 47 CFR 64.1200(b) and 47 CFR 64.1200(d)(4) as the defendants

         failed to have a a written policy regarding telemarketing, trained person el who

         engage in telemarketing, failed to identify the seller and telemarketers, and failed to

         maintain a o-not-call list. In total, the Defendants owe the Plaintiff $3,000 per call

         for violations of the TCPA.




                                              FIRST CLAIM FOR RELIE

         (Non-Emer enc Robocalls to Cellular Telephones, 47 U.S.C. § 227(b)(1)(A))

                                             (Against All Defendants)

              1. Mr. Cunningham realleges and incorporates by reference each and every

    allegation set forth in the preceding paragraphs.

              2. The foregoing acts and omissions of Defendants and/or their affiliates or

    agents constitute multiple violations of the TCPA, 47 U.S.C. § 227(b)(1)(A), by making

    non-emergency telemarketing robocalls to Mr. Cunningham s cellular telephone number

    without his prior express written consent.


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              3.        Mr. Cunningham is entitled to an award of at least $500 in damages for

    each such violation. 47 U.S.C. § 227(b)(3)(B).

              4. Mr. Cunningham is entitled to an award of up to $1,500 in damages for

    e c such knowing or willful violation. 47 U.S.C. § 227(b)(3).

              5. Mr. Cunningham also seeks a permanent injunction prohibiting

    Defendants and their affiliates and agents from making non-emergency telemarketing

    robocalls to cellular telephone numbers without the prior ex ress written consent of the

    called party.


                                       n. SECOND CLAIM FOR RELIEF

             (Telemarketing Without Mandated Safegu r s, 47 C.F.R. § 64.1200( ))

                                             (Against All Defendants)

              6. Mr. Cunningham realleges and incorporates by reference each and every

    allegation set forth in the preceding paragraphs.

              7. The foregoing acts and omissions of Defendants and/or their affiliates or

    agents constitute multiple violations of FCC regulations by making telemarketing

    solicitations despite lacking:

                       a. a written policy, available upon demand, for maintaining a do-not-

    call list, in violation of 47 C.F.R. § 64.1200(d)(1);2

                       b. training for the individuals involved in the telemarketing on the

    existence of and use of a do-not-call list, in violation of 47 C.F.R. § 64.1200(d)(2);3 and,




    2 See id. at 425 (codifying a June 26, 2003 FCC order).
    3 See id. at 425 (codifying a June 26, 2003 FCC order).

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                       c. in the solicitations, the name of the individual caller and the name

    of the person or entity on whose behalf the call is being made, in violatio of 47 C.F.R. §

    64.1200(d)(4).4

              8. Mr. Cunningham is entitled to an award of at least $500 in damages for

    each such violation. 47 U.S.C. § 227(c)(5)(B).

              9. Mr. Cunningham is entitled to an award of up to $1,500 in damages for

    each such knowing or willful violation. 47 U.S.C. § 227(c)(5).

              10. Mr, Cunningham also seeks a permanent injunction prohibiting

    Defendants and their affiliates and agents from making telemarketing solicitations until

    and unless they (1) implement a do-not-call list and training thereon and (2) include the

    name of the individual caller and BEKSTAR, LLC s name in the solicitations.


              UI. THIRD CLAIM FOR RELIEF: Violations of The Texas Business an

                                             Commerce Code 305.053

              11. Mr. Cunningham realleges and incorporates by reference each and every

    allegation set forth in the preceding paragraphs.

              12. The foregoing acts and omissions of Defendants and/or their affiliates or

    agents constitute multiple violations of the Texas Business nd Commerce Code

    305.053, by making non-emergency telemarketing robocalls to Mr. Cunningham s

    cellular te ephone number without his prior express written consent in violation of 47

    USC 227 et seq.




    4 See id. at 425 - 26 (codifying a June 26, 2003 FCC order).

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             13. Mr. Cunningham is entitled to an award of at least $500 in damages for

    each such violation.Texas Business and Commerce Code 305.053(b)

             14. Mr. Cunningham is entitled to an award of up to $1,500 i damages for

    each such knowing or willful violation. Texas Busines and Commerce Code

    305.053(c).


                                            IV. PRAYER FOR RELIE

             WHEREFORE, Plaintiff Craig Cunningham prays for judgment against

    Defendant BEKSTAR, IXC :

             A. Leave to amend this Complaint to name additional DOESs as they are

    identified and to conform to the evidence presented at trial;

             B. A declaration that actions complained of herein by Defendants violate the

    TCPA and Texas state law;

             C. An order enjoining Defendants and their affiliates and agents from

    engaging in the unlawful conduct set forth herein;

             D. An award of $3000 per call in statutory damages arising from the TCPA

    intentional violations jointly and severally gainst the corporation and individual for 9

    calls.

             E. An award of $1500 per call in statutory damages arising from violations of

    the Texas Business and Commerce code 305.053

             F. An award to Mr. Cunningham of interest, costs and attorneys fees, as

    allowed by law and equity

             G. Such further relief as the Court deems necessary, just, and proper.




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